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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 08-254 (MJD/JJK)

                   Plaintiff,

v.

Michael Andrew Gross,                       REPORT AND RECOMMENDATION

                    Defendant.


William J. Otteson, Esq., Assistant United States Attorney, counsel for Plaintiff.

Steven J. Meshbesher, Esq., Meshbesher & Associates, PA, counsel for
Defendant.


      This matter is before this Court on Defendant Michael Andrew Gross’s

Motion to Suppress Evidence Obtained by Search and Seizure (Doc. No. 34),

and Motion to Suppress Statements (Doc. No. 61). This Court held a hearing on

the motions on October 14-16, 2008, 1 and received testimony from the following

six witnesses: Officer Andrew Gubash of the West St. Paul Police Department

and the Dakota County Drug Task Force; Officer Jay Senne of the Burnsville

Police Department; Analyst Nicholas Reedy of the Drug Enforcement

Administration; Special Agent Timothy Mellor of the Drug Enforcement

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      The Court issued an Order on motions dated October 16, 2008, taking
Defendant’s Motion to Suppress Evidence Obtained by Search and Seizure
(Doc. No. 34), and Motion to Suppress Statements (Doc. No. 61), under
advisement for submission to the District Court on Report and Recommendation.
(Doc. No. 70.)
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Administration; Detective Mari Askerooth of the Airport Police Department; and

Agent Rick Porras of the Burnsville Police Department and the Dakota County

Drug Task Force. The Court received eight exhibits from the Government,

including the search warrants and supporting affidavits at issue. The matter was

referred to the undersigned for Report and Recommendation pursuant to 28

U.S.C. § 636 and Local Rule 72.1. For the reasons stated below, this Court

recommends that Defendants’ Motion to Suppress Evidence Obtained by Search

and Seizure be denied, and Defendants’ Motion to Suppress Statements be

granted.

                                 BACKGROUND

      Defendant’s motions stem from the execution of two search warrants and

the events surrounding the execution of those warrants.

      On July 22, 2008, United States Magistrate Judge Susan Richard Nelson

issued a warrant to search a specifically described location in Burnsville,

Minnesota, including all of the buildings, land, and appurtenances located

thereon. (Hearing Ex. No. 2.) The supporting affidavit further specifically

described the location as the residence of Defendant. The search warrant

identified the objects of the warrant as: controlled substances, including

marijuana; records relating to the importation, distribution, and possession of

controlled substances; items relating to domestic travel; items and documents

evidencing the obtaining, secreting, transfer, and/or concealment of assets and

the obtaining and/or secreting currency equivalents; currency, precious metals,


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stones, jewelry, financial instruments and ledgers, and sales receipts;

photographs, video tapes, and slides; records indicating occupancy, residency

and/or ownership of the premises; paraphernalia for packaging, weighing, and

distributing controlled substances; identification documents; and items,

documents, and records relating to the operation of controlled-substance sales,

repackaging, and redistribution.

      Magistrate Judge Nelson issued the warrant on the basis of probable

cause contained in the Affidavit of Timothy J. Mellor, including information

received from Special Agent Laurel Pistel of the United States Department of the

Interior’s Bureau of Land Management regarding searches and seizures in

California relating to the “Gonzalez organization”; information received from a

confidential source; information regarding the stop of an individual named

Heather Richards; information obtained through surveillance; and information

received through a consent search of a rental vehicle.

      On July 23, 2008, at approximately 11:15 a.m., law enforcement personnel

from the Drug Enforcement Administration, Internal Revenue Service, Airport

Police Department, Dakota County Drug Task Force, and Burnsville Police

Department, executed the search warrant at Defendant’s residence. Defendant

was not present at the residence at that time. At some point during the search,

Burnsville Police Department Officer Senne learned that Defendant’s vehicle had

been identified as entering the neighborhood. Officer Senne and Agent Patrick




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Gast of the Dakota County Drug Task Force then left the Defendant’s residence

in Officer Senne’s marked squad car to attempt to locate Defendant.

         Officer Senne and Agent Gast, along with officers in two other vehicles,

located Defendant’s vehicle in the left turn lane of West River Hill Drive in

Burnsville. The three vehicles approached Defendant’s vehicle from behind.

Officer Senne testified that he learned through radio communication that the

driver (i.e., Defendant) was “making movements of like stuffing something under

their front seat.” (Doc. Nos. 72 & 74, Hearing Transcript (“Tr.”) at 53.) This,

along with the information that Officer Senne had learned from briefing prior to

executing the search warrant about Defendant’s possession of a handgun,

resulted in the officers conducting a “high-risk” traffic stop of Defendant’s vehicle.

(Id.)

         After the two marked squads activated their emergency lights, Defendant

stopped his vehicle.2 The officers exited their vehicles and pointed their service

weapons at Defendant’s vehicle. Officer Senne then gave verbal commands to

Defendant to stick both of his hands out of the window, exit his vehicle, continue

to look away from Officer Senne’s voice, and to walk backwards toward the

sound of Officer Senne’s voice. Defendant was then handcuffed, placed into the

back of Officer Senne’s car, and was driven to Defendant’s residence by Officer


2
      Two additional marked squad cars also arrived on the scene, with one
uniformed police officer in each.




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Senne. 3 Officer Senne testified that it took approximately twenty minutes from

the time of the stop until the time they returned to Defendant’s residence.

      Upon arrival at Defendant’s residence, Defendant was removed from

Officer Senne’s vehicle and placed onto the backseat of Agent Porras’s minivan,

which was parked on the street outside of Defendant’s residence. During the

transfer, and while Defendant was in Agent Porras’s minivan, Defendant

remained handcuffed behind his back. In the minivan, Agent Porras and an

unidentified officer sat on the front seats. Within about five minutes, Agent Mellor

entered the minivan and sat next to Defendant on the backseat. Both Agent

Porras and Agent Mellor testified that Defendant was not free to leave at that

time. Defendant was not given Miranda warnings while he was in the minivan.

      Agent Mellor testified that he “explained to [Defendant] why [they]

were there, why [they] were executing the warrant, that [Defendant] had

information that [they] believed would be helpful in the investigation, and

[he] wanted to speak to [Defendant] about that.” (Tr. at 131.) Agent Mellor

testified that Defendant originally said that “[h]e didn’t have information.”

(Id.) According to Agent Mellor’s testimony, he then told Defendant that he

did not believe Defendant was telling him the truth. (Id. at 132.) Agent

Mellor then explained to Defendant that he believed Defendant did have


3
      During the ride back to Defendant’s residence, Officer Senne engaged
Defendant in casual conversation. Defendant does not argue, however, that the
statements made to Officer Senne in his squad car should be suppressed.



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information and that “based upon [their] investigation that [Defendant]

would have information, that [they were] looking for his cooperation[.]” (Id.

at 131-32.) According to Agent Mellor, Agent Porras made similar remarks

to Defendant. (Id. at 133-34.) Agent Mellor testified that some time

subsequent to this exchange, Defendant said, “Yes, there’s some things

we could talk about.” (Id. at 133.) At some point during Agent Mellor’s

conversation with Defendant, Agent Mellor asked Defendant if he had any

knowledge of individuals involved in marijuana trafficking. Defendant

responded saying that “there was an individual known to him, a female

named Tara.” (Tr. at 135.)

      The conversation in the minivan lasted approximately five to ten minutes.

Agent Mellor and Agent Porras then escorted Defendant, who still remained in

handcuffs, from the minivan to an office in Defendant’s house. Defendant was

then, for the first time, read his rights pursuant to Miranda, and interviews

commenced first by Agent Mellor and then by Detective Askerooth.

      During the course of the search of Defendant’s residence, pursuant to the

warrant issued by Magistrate Judge Nelson, marijuana and cocaine were found,

along with approximately $8,000.00 in U.S. currency, duffle bags with what

appeared to be marijuana residue, records reflecting a high volume of cash

transactions, purchased money orders, cash receipts for gasoline purchases

between California and Minnesota, and a receipt in Defendant’s name dated July

22, 2008, reflecting payment for rental of Unit E236 (the “storage locker”), a


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storage locker at Gopher Mini Storage, for the period July 22 to August 21, 2008.

Based on these findings, a Dakota County Sheriff’s Deputy and member of the

K-9 Unit went to the storage locker with a dog trained in detecting the odor of

controlled substances. The dog alerted on the storage locker, indicating that the

odor of a controlled substance was present inside the storage locker.

      Based on all of the above, on July 23, 2008, Special Agent Mellor

submitted an application and supporting affidavit for a search warrant to search

the location described as Unit E236, located at Gopher Mini Storage, 10685

165th Street West, Lakeville, Minnesota. (Hearing Ex. No. 3.) The supporting

affidavit further identified Unit E236, located at Gopher Mini Storage, 10685

165th Street West, Lakeville, Minnesota, as being rented in the name of

Defendant. The search warrant identified the objects of the warrant as those

same objects listed in the July 22, 2008 search warrant. Magistrate Judge

Nelson issued this second warrant on the basis of probable cause contained in

an Affidavit of Timothy J. Mellor, which included all of the same information cited

in his earlier July 22, 2008 Affidavit, along with the additional information learned

through the execution of the July 22, 2008 search warrant, including reference to

the receipt in Defendant’s name pertaining to the rental of the storage locker.

During the search of the storage locker, marijuana was found.

      At approximately 6:00 p.m. on July 23, 2008, several officers, including

Agent Gast and Detective Askerooth, transported Defendant from his residence

to the Burnsville Police Department. There, Defendant was brought to a


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conference room where Detective Askerooth read Defendant his Miranda rights.

Thereafter, Defendant was interviewed by Detective Askerooth, Agent Porras,

Agent Mellor, and DEA Analyst Nick Reedy. Approximately the first sixty minutes

of the interview was recorded. The interview continued after the recording

stopped for approximately 1-2 hours.

      Defendant was subsequently indicted for Conspiracy to Distribute

Marijuana in violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(B), and 846.

                                  DISCUSSION

I.    Motion to Suppress Evidence

      Defendant challenges the search warrants 4 issued in this case based upon

a lack of probable cause on the four corners of the supporting affidavits. Based

on this challenge, Defendant moves to suppress the physical evidence seized

from the specifically described location in Burnsville, and from the storage locker.

      Searches conducted pursuant to a warrant are reviewed to determine

whether the information in the warrant application and supporting affidavit

provided probable cause for the search. Illinois v. Gates, 462 U.S. 213, 236

(1983). “Probable cause exists when, given the totality of the circumstances, a

4
       In Defendant’s Supplemental Memorandum (Doc. No. 81), Defendant
specifically challenges whether the information contained in Agent Mellor’s July
22, 2008 affidavit establishes probable cause. Because the same information
that is contained in Agent Mellor’s July 22, 2008 affidavit is also contained in
Agent Mellor’s July 23, 2008 affidavit, the Court construes Defendant’s argument
as challenging both search warrants based on lack of probable cause.



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reasonable person could believe there is a fair probability that contraband or

evidence of a crime would be found in a particular place.” United States v.

Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000) (citing Gates, 462 U.S. at 236).

When determining whether probable cause exists, a court does not evaluate

each piece of information independently, but, rather, considers all of the facts for

their cumulative meaning. United States v. Allen, 297 F.3d 790, 794 (8th Cir.

2002). The task of a court issuing a search warrant is “simply to make a

practical, common-sense decision whether, given all the circumstances set forth

in the affidavit . . . including the ‘veracity’ and ‘basis of knowledge’ of persons

supplying hearsay information, there is a fair probability that contraband or

evidence of a crime will be found in a particular place.” Gates, 462 U.S. at 238;

see also United States v. Salter, 358 F.3d 1080, 1084 (8th Cir. 2004). When

information in the application for the search warrant is provided by a confidential

informant, the totality of the circumstances must show that the information is

sufficiently reliable. United States v. Lucca, 377 F.3d 927, 933 (8th Cir. 2004)

(citing Gates, 462 U.S. at 233). Sufficient reliability may be shown through

“corroboration by other evidence, or if the informant has a history of providing

reliable information.” Lucca, 377 F.3d at 933 (citing United States v. Williams, 10

F.3d 590, 593 (8th Cir. 1993)).

      In reviewing the decision of the issuing court, this Court must ensure that

the issuing court “‘had a substantial basis for . . . conclud[ing] that probable

cause exists.’” United States v. Oropesa, 316 F.3d 762, 766 (8th Cir. 2003)


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(quoting Gates, 462 U.S. at 238-39). Since reasonable minds may differ on

whether a particular search warrant affidavit establishes probable cause, the

issuing court’s determination is accorded great deference. United States v.

Wajda, 810 F.2d 754, 760 (8th Cir. 1987) (citing United States v. Leon, 468 U.S.

897, 914 (1984)).

      Defendant asserts that Agent Mellor’s affidavits 5 state only that Defendant

engaged in “some forms of behavior that were moderately suspicious, attended

by a multiplicity of innocent explanations, remote in time and place, and far from

meeting the necessary threshold of probable cause.” (Doc. No. 81, Def.’s

Supplemental Mem. in Supp. of Mots. to Suppress Statements and Evidence

Obtained by Search and Seizure 24.) In summary, Defendant more specifically

argues that (1) Agent Mellor does not connect the number that accompanied the

name “Jew” in Noa Corona Gonzalez’s 6 cellular telephone and “E.Jew” in

Heather Richards’s 7 cellular telephone to Defendant; (2) there is a lack of



5
       Special Agent Mellor’s July 22, 2008 and July 23, 2008 affidavits include
identical information, except that the July 23, 2008 affidavit also includes a
section entitled, “Information Relating to Gross Learned through Execution of
Search Warrant on July 23, 2008.” (See Hearing Exs. 2 and 3.)
6
       Law enforcement has uncovered evidence that the “Gonzalez
organization” is connected with certain marijuana trafficking activities in
California. Located in the address book of a cellular telephone seized from
Gonzalez was a contact for an individual listed as “Jew.”
7
      The Utah Highway Patrol stopped Richards in November 2007. She was
in possession of approximately sixty pounds of marijuana, and her telephone
                                             (Footnote Continued on Next Page)

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information relating to the Source of Information’s (“SOI”) reliability; (3) the

reliability of the SOI was not independently corroborated in this matter; (4) the

information regarding the name “Jew” or “E.Jew,” and the information provided

from the SOI that he knew Defendant as “Jewboy” or “Jew,” is stale in time and

remote in proximity to the Midwest, and did not support that there would be illicit

activity ongoing at Defendant’s residence; (5) the knives and OC spray that were

observed by an officer at Defendant’s residence in response to an incident report

are not indicative of a connection with multi-state drug trafficking; (6) the fact that

an officer observed, during prior surveillance of Defendant’s residence, a white

male come out of Defendant’s garage with a bag and then discard the bag in a

dumpster located at a house under construction nearby, does not corroborate the

informant’s allegation of criminal activity; (7) the reliability of the canine’s

purported “alert” to the center console of the rental vehicle returned by Defendant

was not supported by foundation; and (8) the “odor” of narcotics found in the

rental vehicle returned by Defendant should carry little weight when the vehicle

was presumably utilized by other drivers prior to Defendant.

      Upon reviewing Agent Mellor’s two Applications and Affidavits for Search

Warrants in their entirety, the Court finds that they established probable cause for

the search warrants. As set forth above, this Court’s role is simply to “make a


(Footnote Continued from Previous Page)
included a number (the same number found in Gonzalez’s phone listed for “Jew”)
listed for “E.Jew.”



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practical, common-sense decision” about whether there is a “fair probability” that

officers will discover contraband. See Gates, 462 U.S. at 238. The search

warrant applications stated, among other things, that (1) Gonzalez’s address

book in his phone contained “Jew” as a contact; (2) Richards’ address book in

her phone contained “E.Jew” as a contact; (3) both “Jew’s” phone number and

“E.Jew’s” phone number were the same phone number, with a Minnesota area

code; (4) the SOI identified the Defendant from his driver’s license photograph as

“Jewboy,” and stated that Defendant was introduced to him as “Jewboy” or “Jew”

at the Holiday Inn Express in Ukiah, California in mid-2007; (5) the SOI spent

time with Defendant and Richards at the Holiday Inn Express in Ukiah, and there,

Defendant told the SOI that he was receiving $3,600.00 per pound of marijuana;

(6) hotel records show that Defendant stayed at the Holiday Inn Express in Ukiah

in early October 2007, and reported being from Rosemount, Minnesota, which is

where his brother resides; (7) the SOI met Defendant because of a meeting

between Gonzalez and Defendant that was arranged by Richards wherein

Gonzales provided Defendant with eight or nine pounds of marijuana and

$3,500.00 in exchange for a Lincoln Navigator vehicle; (8) Agent Mellor

determined that a 2004 Lincoln Navigator is registered to Defendant in

Minnesota, and that that same Lincoln Navigator is registered to Gonzalez’s wife

in California; (9) the SOI claims that Richards told him that Defendant was her

contact in Minnesota and assisted her financially in growing her marijuana; (10) a

K-9 alerted to the center console of the rental vehicle that Defendant had just


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returned for the odor of narcotics; and (11) a search of public records showed

that Defendant was the owner of the residence-at-issue in the warrant.

      In addition to the above, the application supporting the search warrant for

the storage locker explained that the execution of the search warrant on

Defendant’s residence resulted in the seizure of the following evidence:

(1) suspected marijuana and cocaine; (2) approximately $8,000 in U.S. currency

found in an empty food box in Defendant’s trash; (3) duffle bags with what

appeared to be marijuana residue; (4) records reflecting a high volume of cash

transactions, purchased money orders, and cash receipts for gasoline purchases

between California and Minnesota; and (5) a receipt in Defendant’s name dated

July 22, 2008, reflecting payment for the storage locker for the period July 22 to

August 21, 2008. The affidavit also states that a dog trained in detecting the

odor of controlled substances alerted on the storage locker, indicating that at

least the odor of a controlled substance was present inside the storage locker.

      The Court concludes that the totality of the circumstances here shows that

the information received from the SOI is sufficiently reliable. The affidavit

includes reference to corroboration by other evidence (i.e., Gonzalez and

Richards’ phone contacts, hotel records, vehicle registrations), and the SOI did

have a history of providing reliable information (i.e., the SOI had previously

accurately identified rural trails utilized to reach outdoor marijuana grows and

described vehicles used by a member of the Gonzalez organization). All of the




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above referenced information established a fair probability that drugs would be

found in Defendant’s home and in the storage locker.

      Therefore, the evidence seized pursuant to the search warrants for the

specifically identified location known as Defendant’s residence, including all of

the buildings, land, and appurtenances located thereon (Hearing Ex. No. 2), and

the storage locker described as Unit E236, located at Gopher Mini Storage,

10685 165th Street West, Lakeville, Minnesota (Hearing Ex. No. 3), were not

unlawfully obtained in violation of the constitutional rights of Defendant. Both

search warrants were based on sufficient probable cause as stated in the

Affidavits of Timothy J. Mellor and as determined by United States Magistrate

Judge Nelson. 8 The warrants properly and sufficiently identified the location of

the search and the items to be seized. The search warrants in this matter were


8
       Even if probable cause did not exist, there was a facially valid warrant and
the good faith exception to the exclusionary rule, established in United States v.
Leon, 468 U.S. 897 (1984), would have to be considered. “Under the good-faith
exception, evidence seized pursuant to a search warrant that lacked probable
cause is admissible if the executing officer’s good-faith reliance on the warrant is
objectively reasonable.” United States v. Perry, 531 F.3d 662, 665 (8th Cir.
2008). “The good-faith inquiry is confined to the objectively ascertainable
question whether a reasonably well trained officer would have known that the
search was illegal despite the [issuing judge’s] authorization.” United States v.
Proell, 485 F.3d 427, 430 (8th Cir. 2007) (alteration in original) (quotations
omitted). “When assessing the objective [reasonableness] of police officers
executing a warrant, [the Court] must look to the totality of the circumstances,
including any information known to the officers but not presented to the issuing
judge.” Id. at 431 (alteration in original) (quotations omitted). Here, this Court
concludes that the good-faith exception would apply. There is no evidence to
suggest that the officers’ reliance on the warrants was not in good faith, nor is
there evidence that the officers’ reliance was not reasonable.



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lawfully issued, and there is no requirement for suppression of evidence seized

pursuant to the warrants. Therefore, this Court recommends that Defendant’s

Motion to Suppress Evidence Obtained by Search and Seizure (Doc. No. 34) be

denied.

II.    Motion to Suppress Statements

       Defendant contends that any statements made by him in his residence and

at the Burnsville Police Department should be suppressed because the

statements were not made after a valid waiver of Defendant’s rights pursuant to

Miranda. In other words, despite the reading of the Miranda advisory to

Defendant in his home office and at the Burnsville Police Station, and despite

Defendant’s purported waiver of his rights, Defendant contends that such

advisories and waivers were rendered invalid based on the questioning that was

conducted in Agent Porras’ van without Miranda warnings.

       As a preliminary matter, the Government states that it does not intend to

use any incriminating statements made by Defendant before Agent Mellor

administered the Miranda warnings. Even so, the Government asserts that none

of the pre-Miranda conversations constituted “interrogations” for which a Miranda

warning was required. In addition, the Government contends that the Court

should deny Defendant’s motion as it pertains to his post-warning statements,

arguing that Missouri v. Seibert, 542 U.S. 600 (2004), only requires the

suppression of incriminating statements when government agents engage in a

deliberate strategy to circumvent Miranda, and here there is no support showing


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such deliberate strategy. The Government has not, however, identified any

incriminating statements made by Defendant at either the home interrogation or

the police station interrogation.

      A.     Statements made pre-Miranda warnings

      The Fifth Amendment privilege against self-incrimination protects

individuals from being forced to testify against themselves. U.S. Const.

amend. V. Miranda warnings must be given before any interrogation of a

suspect in custody may take place. Miranda v. Arizona, 384 U.S. 436, 460-61

(1966). Before the government may introduce an incriminating statement made

by a defendant, it must prove a voluntary, knowing, and intelligent waiver of the

accused’s rights under the Fifth Amendment. Id. at 475.

      The requirements of Miranda arise only when a defendant is both in

custody and being interrogated. United States. v. Head, 407 F.3d 925, 928 (8th

Cir. 2005). Because it is undisputed that Defendant was in custody and had not

yet been advised of his rights when the discussion in the minivan took place, the

issue is whether any statements made by Defendant in the minivan resulted from

interrogation. See United States v. Broines, 390 F.3d 610, 612 (8th Cir. 2004).

Interrogation includes both direct questioning by officers and words or actions

that officers should know are “’reasonably likely to elicit an incriminating

response from the suspect.’” Id. (quoting Rhode Island v. Innis, 446 U.S. 291,

301 (1980)). Voluntary statements that are not in response to interrogation are




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admissible with or without the giving of Miranda warnings. Head, 407 F.3d at

928.

        The Government argues that any statements made by Defendant in the

minivan were not the result of an interrogation because Agent Mellor was not

asking Defendant to make statements, but only to listen to the efforts that law

enforcement had made that led them to suspect him and to search his house.

Although that may have been Agent Mellor’s intention, the record reflects that

questions were asked of Defendant, and were asked in a particularly coercive

environment—Defendant was handcuffed, seated in an enclosed vehicle with

only officers present, and seated in very close proximity to the speaking officer.9


9
      Agent Mellor’s testimony as to the conversation with Defendant in the
minivan is as follows:

        Q:    At the time that [Defendant] was in the minivan, did you ask
              [Defendant] any questions regarding the knowledge of
              marijuana trafficking?

        A:    I believe I, I stated it in terms of “I know you know individuals
              trafficking.”

              ....

        Q:    Did you ask Mr. Gross if he used marijuana for his own use
              while he was in the minivan?

        A:    I don’t recall asking that.

        Q:    It’s possible, you just don’t remember?

        A:    I, I don’t think – well, I don’t see why I would.

                                                  (Footnote Continued on Next Page)

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           ....

     Q:    . . . You asked Mr. Gross if he had any knowledge of
           individuals involved in marijuana trafficking at that time, is that
           correct?

     A:    Right.

     Q:    Did he provide any names or he just said he didn’t know
           anyone?

     A:    He said that there was an individual known to him, a female
           named Tara.

     Q:    He told you that in that van?

     A:    He did.

     Q:    This is before a Miranda warning had been read to him?

     A:    That’s correct.

     Q:    And this is with three officers, two of which you and Agent
           Porras had both asked him questions back and forth?

     A:    Not so much questions asked. This is your situation. You
           know, we known you know, that line of questioning.

     Q:    And then he provided the name of Tara.

     A:    That he knew this Tara who was involved.

     Q:    This is after you and Agent Porras had asked him these
           questions.

     A:    Yes.

     Q:    Did you ask Mr. Gross at that time if he had taken trips to
           California?

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(Footnote Continued from Previous Page)
      A:   I, I can’t recall if it was stated as a question or as “I know
           you’ve been going to California.”

      Q:     Okay. And you also asked him a question or stated as a
             statement that – you asked him about the sale of vehicles in
             California, is that correct?

             ....

             This is in the van, now. You and Agent Porras asked him
             about going to California, right?

      A:     I, I don’t recall if that was specifically asked in the van or if that
             was asked in the office. I know we told him, “We know you’ve
             been going to California,” things like that.

             ....

      Q:     Did you ask [Defendant] in the minivan about sources of
             income and where he got his income to live?

      A:     In the van, I, I don’t recall that, that we went into that.

      Q:     Did you ask [Defendant] in the minivan about his involvement
             with an individual by the name of Noe Gonzalez?

      A:     I don’t believe so, not in the van.

      Q:     Did Agent Porras do that?

      A:     I don’t believe he did.

             ....

      Q:     Did you tell [Defendant] about this investigation has been
             going on for some time?

      A:     Yes.

                                                   (Footnote Continued on Next Page)



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Although most of Agent Mellor’s testimony reflects that he was telling the

Defendant what he was doing and what the officers were investigating, Agent

Mellor confirmed that, while in the minivan, he had asked Defendant if he had

any knowledge of individuals involved in marijuana trafficking, and that

Defendant responded saying that there was an individual that he knew named

Tara. This line of questioning is more than simply telling the Defendant what

Agent Mellor was doing and what the officers were investigating; it instead, in

context, is a line of questioning that was reasonably likely to elicit an

(Footnote Continued from Previous Page)
      Q:   And you told him that you had known about him way prior to
           July 23rd.

      A:     Yes.

      Q:     And you told him you had information that you had
             accumulated through your investigation of him.

      A:     Yes.

      Q:     And you told him some of that investigation had been done on
             surveillance of him in his home.

      A:     Yes.

      Q:     As well as information that you had obtained in California.

      A:     Yes.

      Q:     And this was done in the minivan with you and Agent Porras.

      A:     That was the initial part of telling him why we were there and
             why we wanted his cooperation, yes.

(Tr. at 134-39.)



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incriminating response from Defendant such that the conversation amounted to

interrogation.

      Further, the Government cites United States v. Lockett, 393 F.3d 834, 837-

38 (8th Cir. 2005), for the proposition that the practice of officers telling a criminal

suspect what was happening, and why they believed a suspect was involved in

criminal activity, constitute words and actions “normally attendant to arrest and

custody” and are therefore not “interrogation” for Miranda purposes. Lockett,

however, is distinguishable from the case at hand. There, the statements made

by the officers were in response to inquiries made by the defendant. Here, Agent

Mellor’s statements were not in response to any inquiry made by Defendant;

Agent Mellor initiated the communication. In addition, Agent Mellor’s inquiries

were more than “routine processing-type questions” such as the name and

address of a suspect. See United State v. Reyes, 908 F.2d 281, 287 (8th Cir.

1990). Therefore, because Defendant was in custody and was subjected to

interrogation by Agent Mellor in Agent Porras’ minivan, and because that

interrogation was conducted before Defendant was issued a Miranda warning,

the Court recommends that any statements that Defendant made in the minivan

are inadmissible in the Government’s case-in-chief.

      B.     Statements made post-Miranda warnings

      Defendant argues that his post-Miranda statements should be suppressed

because they were a continuation of the interview that took place in the minivan,

where Agent Mellor failed to give Miranda warnings to Defendant. In response,


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the Government argues that the post-Miranda statements are admissible

because they were taken in good faith and were not a part of a deliberate, two-

step technique to obtain incriminating statements in violation of Miranda. See

generally Missouri v. Seibert, 542 U.S. 600 (2004).

      The parties dispute the applicability of the Supreme Court’s decision in

Seibert. There, a police officer deliberately withheld Miranda warnings until

Seibert confessed to criminal activity. Id. at 604-06. After Seibert confessed, the

officer obtained Seibert’s signed Miranda-rights waiver and then used Seibert’s

pre-warning confession to elicit a repeat post-warning confession. Id. Seibert’s

second confession was admitted at trial. Id. at 606. A divided Supreme Court

addressed the suppression issue on appeal and held the second confession

inadmissible.

      A plurality of four justices questioned the effectiveness of the Miranda

warnings when they were administered immediately following a confession and

provided a number of factors for courts to consider every time a suspect first

gives an unwarned confession, is thereafter warned, and then confesses again.

Id. at 612-17. However, Justice Kennedy provided the fifth vote for the Court’s

judgment, and decided the case on narrower grounds. 10 In his view, the

principles of Oregon v. Elstad, 470 U.S. 298 (1985), control when the police have


10
       See United States v. Ollie, 442 F.3d 1135, 1141 (8th Cir. 2006) (concluding
that Justice Kennedy’s decision provided the narrower grounds for the decision in
Seibert and therefore is the rule of decision for lower courts to apply).



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not deliberately used separate interrogations to elicit incriminating statements

through belated Miranda warnings. Under Elstad, statements made after a

knowing and voluntary waiver of Miranda rights are admissible unless there were

earlier unwarned statements resulting from coercion or a calculated effort to

undermine a suspect’s free will. Id. at 309. 11 However, if a deliberate strategy

was used to avoid Miranda requirements, Elstad does not apply, and post-

warning statements related to the substance of what was said earlier are

inadmissible in the absence of curative measures. Seibert, 542 U.S. at 621-22

(Kennedy, J., concurring in the judgment). Thus, Justice Kennedy would

suppress post-warning statements only where the police use “the two-step

interrogation technique . . . in a calculated way to undermine the Miranda

warning.” Id. at 622. Because Justice Kennedy decided the case on narrower

grounds than the plurality, his reasoning controls. See Ollie, 442 F.3d at 1141

(“Because Justice Kennedy provided the fifth vote and his concurrence resolved

the case on narrower grounds than did the plurality, it is his reasoning that rules

the present case.”).

11
       In Elstad, two police officers went to the defendant’s home with a warrant
for his arrest in connection with a burglary. Id. at 300. While one officer was in
the kitchen with the defendant’s mother, the other officer was in the living room
with the defendant. Id. at 301. The officer stated that he told the defendant that
he felt the defendant was involved in the burglary and that defendant then told
the officer that he was present at the scene of the burglary. Id. The officers then
transported the defendant to the police station, where, approximately one hour
later, he was informed of his Miranda rights. Id. The defendant then waived his
Miranda rights and gave a full statement to the officers concerning his
involvement in the burglary. Id. at 302.



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      The Eighth Circuit in Ollie was the first circuit court post-Seibert to provide

instruction as to which party bears the burden of proof as to deliberateness. The

Eighth Circuit, of course, guides this Court’s review. In Ollie, the Eighth Circuit

instructed that the government bears the burden of proving by a preponderance

of the evidence that the two-step interrogation technique was not a deliberate

attempt by the police to undermine the Miranda warnings. Thus, the court held

as follows:

      [w]hen a defendant moves to suppress a post-warning statement
      that he contends was given as part of a question-first interrogation,
      the prosecution must prove, by a preponderance of the evidence,
      that the officer’s failure to provide warnings at the outset of
      questioning was not part of a deliberate attempt to circumvent
      Miranda. Placing that burden on the prosecution is consistent with
      prior Supreme Court decisions that require the government to prove
      the admissibility of a confession before it may come into evidence.

Id. at 1142-43.

      Before this Court turns to the Government’s rationale about why the

interrogation methods used in this case were not a deliberate attempt to

undermine Miranda, it is important to review the nature of the interrogation

technique that was in fact utilized. When Defendant was taken back to his

residence after the traffic stop and arrest, the police officers elected to put

Defendant in the back of a minivan to conduct the initial interrogation described

above. In the van, Defendant was handcuffed behind his back and surrounded

by three officers, two in the front seats and one seated next to him in the rear.

No Miranda warnings were given. In the minivan, the officers confronted



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Defendant with the nature of their investigation and evidence that they had

gathered about Defendant’s criminal involvement. The officers also elicited

information about Defendant’s own involvement in drug trafficking and his

knowledge of the involvement of others. At the hearing, the officers offered no

explanation for why they chose to put Defendant in the minivan for this

conversation instead of simply taking Defendant into the house, which was their

ultimate destination.

      This Court finds that this was a carefully concocted scene chosen by the

police to elicit Defendant’s cooperation and information to inculpate him. It is not

akin to situations where an officer may not realize that a suspect is in custody

and warnings are required or where a defendant blurts out an incriminating

statement unexpectedly before Miranda warnings are given. Given the

Government’s lack of explanation about why they started the discussion with

Defendant in the confines of the minivan, it is reasonable to infer that the purpose

of this technique was to create an intimidating setting and make it more likely that

Defendant would not exercise his right to remain silent either in the minivan or

when he was finally moved inside his residence.

      The Government presented no testimony from any of the officers that they

were not acting in a calculated way to undermine Miranda warnings when they

utilized the minivan interrogation. No officer testified that the failure to Mirandize

Defendant in the van was the innocent mistake of an officer who forgot to give

the warnings required by law. The only testimony relied upon by the Government


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about the intent of the agents is that of Agent Mellor, who led the discussion in

the minivan. Specifically, the Government relies on Agent Mellor’s testimony that

it was “[n]ot originally” his intention to arrest the Defendant that day, but instead

the intention was to “see if he would cooperate with law enforcement.” (Tr. at

92.) This, of course, provides no aid to the Government to help sustain the Ollie

burden. While it may have been Agent Mellor’s intent at the start of the day

merely to see if Defendant would cooperate when the police were going out to

Defendant’s residence to execute the search warrant, it tells the Court nothing

about why the two-step process—including the calculated, no-warning, step-one-

minivan interview—was utilized after the Defendant was taken into custody. In

essence, the arrest of Defendant changed the nature of the officers’ purported

purpose for attempting to communicate with Defendant. Moreover, the

Government presented no evidence that any steps were taken to cure the failure

to give Miranda warnings in the van.

      In conclusion, the Government has not sustained its burden of proving by a

preponderance of the evidence, as required by Seibert and Ollie, that the two-

step interrogation used here was not a deliberate attempt to undermine the

Miranda warnings given at the residence. It is important to apply the

exclusionary rule to suppress the post-Miranda statements in cases like this

because otherwise there is too great a risk that savvy police officers would often

fall back on using a separate, pre-warning, warm-up interrogation that uses

intimidation to overcome the protection of Miranda. If this option existed, “officers


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could employ the question-first technique with impunity by simply claiming that a

failure to provide warnings was an oversight.” United States v. Ladoucer, No. 07-

165(1) (ADM/JSM), 2007 WL 3051434, at *5 (D. Minn. Oct. 17, 2007) (applying

Seibert to suppress post-Miranda statements taken six days after unwarned

statement concluded). This Court recommends that the statements made during

the house interrogation be held inadmissible during the Government’s case-in-

chief. See id.

      In addition, this Court recommends that Defendant’s statements made

during the interrogation at the Burnsville Police Station should also be held

inadmissible during the Government’s case-in-chief. Justice Kennedy explained

the following in Seibert:

      If the deliberate two-step strategy has been used, postwarning
      statements that are related to the substance of prewarning
      statements must be excluded unless curative measures are taken
      before the postwarning statement is made. Curative measure
      should be designed to ensure that a reasonable person in the
      suspect’s situation would understand the import and effect of the
      Miranda warning and of the Miranda waiver. For example, a
      substantial break in time and circumstances between the prewarning
      statement and the Miranda warning may suffice in most
      circumstances, as it allows the accused to distinguish the two
      contexts and appreciate that the interrogation has taken a new turn.
      . . . Alternatively, an additional warning that explains the likely
      inadmissibility of the prewarning custodial statement may be
      sufficient.

Seibert, 542 U.S. at 622. Here, curative measures were not taken. Although

several hours had passed between the interview in the minivan and the interview

at the Burnsville Police Station, and although the location had indeed changed,



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the Government has presented no evidence that the circumstances had changed

such that the Defendant would have been able to distinguish the two contexts.

See Ladoucer, 2007 WL 3051434, at *5 (holding statements that were provided

in a post-Mirandized interview that took place six days after a non-Mirandized

interview inadmissible). In fact, the record does not show that the interrogation

had taken a new turn. Instead, the recording of the final interrogation indicates

that Defendant was being subjected to similar and related lines of questioning

that had been presented to him earlier in the day. For instance, in the final

interrogation, the officers pursued such topics as Defendant’s knowledge of other

individuals who were trafficking illegal drugs and Defendant’s trips to California—

topics that were raised by the officers in the minivan. Indeed, the officers made

reference to conversation that had occurred during the previous interviews, and

made reference to Defendant’s prior statements, including, at the beginning of

the police-station interrogation, references to the Defendant’s conversations with

“Tara,” whose named was originally elicited in the minivan. (See Hearing Ex. 1

at 1:38, 1:48, 1:57, 18:57, 21:38, 35:20, 40:50, 54:00, 56:30.) Therefore, the

police-station interrogation was not distinguishable from the unwarned

interrogation in the minivan. Rather, it was the conclusion of a continuous

interrogation, which started in the minivan and moved into the home.

Accordingly, this Court recommends that the statements made during the police-

station interrogation also be held inadmissible during the Government’s case-in-

chief.


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                               RECOMMENDATION

      IT IS HEREBY RECOMMENDED that:

      1.     Defendant’s Motion to Suppress Evidence Obtained by Search and

Seizure (Doc. No. 34) be DENIED; and

      2.     Defendant’s Motion to Suppress Statements (Doc. No. 61) be

GRANTED.


Date: December 19, 2008
                                               s/Jeffrey J. Keyes
                                              JEFFREY J. KEYES
                                              United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
January 6, 2009, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure
to comply with this procedure may operate as a forfeiture of the objecting party’s
right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within ten days after service thereof. All briefs filed under
this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.




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